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            6
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            8                                      UNITED STATES DISTRICT COURT

            9                                   NORTHERN DISTRICT OF CALIFORNIA

          10                                          SAN FRANCISCO DIVISION

          11
                   THE REGENTS OF THE UNIVERSITY OF                    Case No. 3:17-cv-05211-WHA
          12       CALIFORNIA and JANET NAPOLITANO, in
                   her official capacity as President of the           [PROPOSED] ORDER GRANTING MOTION
          13       University of California,                           OF LEGAL SERVICES ORGANIZATIONS
                                                                       FOR LEAVE TO FILE BRIEF AS AMICI
          14                         Plaintiffs,                       CURIAE IN SUPPORT OF PLAINTIFFS’
                                                                       MOTION FOR PROVISIONAL RELIEF
          15              v.
                                                                       Date:        December 20, 2017
          16       U.S. DEPARTMENT OF HOMELAND                         Time:        8:00 a.m.
                   SECURITY and ELAINE DUKE, in her official           Dept.        Courtroom 8
          17       capacity as Acting Secretary of the Department of   Judge:       Hon. William H. Alsup
                   Homeland Security,
          18
                                     Defendants.
          19

          20
                   STATE OF CALIFORNIA, STATE OF MAINE,                Case No. 3:17-cv-05235-WHA
          21       STATE OF MARYLAND, and STATE OF
                   MINNESOTA,
          22
                                     Plaintiffs,
          23
                          v.
          24
                   U.S. DEPARTMENT OF HOMELAND
          25       SECURITY, ELAINE DUKE, in her official
                   capacity as Acting Secretary of the Department of
          26       Homeland Security, and the UNITED STATES
                   OF AMERICA,
          27
                                    Defendants.
          28
                                                                                           [PROPOSED] ORDER GRANTING
  COOLEY LLP                                                                    MTN. OF LEGAL SERVICES ORGANIZATIONS
ATTORNEYS AT LAW
   PALO ALTO
                                                                                FOR LEAVE TO FILE BRIEF AS AMICI CURIAE
                                                                                        (CASE NO.: 3:17-CV-05211-WHA)
            1      CITY OF SAN JOSE, a municipal corporation,            Case No. 3:17-cv-05329-WHA

            2                         Plaintiff,

            3             v.

            4      DONALD J. TRUMP, President of the United
                   States, in his official capacity, ELAINE C.
            5      DUKE, in her official capacity, and the UNITED
                   STATES OF AMERICA,
            6
                                      Defendants.
            7

            8      DULCE GARCIA, MIRIAM GONZALEZ                         Case No. 3:17-cv-05380-WHA
                   AVILA, SAUL JIMENEZ SUAREZ,
            9      VIRIDIANA CHABOLLA MENDOZA,
                   NORMA RAMIREZ, and JIRAYUT
          10       LATTHIVONGSKORN,
          11                          Plaintiffs,
          12              v.
          13       UNITED STATES OF AMERICA, DONALD J.
                   TURMP, in his official capacity as President of
          14       the United States, U.S. DEPARTMENT OF
                   HOMELAND SECURITY, and ELAINE DUKE,
          15       in her official capacity as Acting Secretary of the
                   Department of Homeland Security,
          16
                                      Defendants.
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          19       COUNTY OF SANTA CLARA and SERVICE                     Case No. 3:17-cv-05813-WHA
                   EMPLOYEES INTERNATIONAL UNION
          20       LOCAL 521,

          21                          Plaintiffs,

          22              v.

          23       DONALD J. TRUMP, in his official capacity as
                   President of the United States, JEFFERSON
          24       BEAUREGARD SESSIONS; in his official
                   capacity as Attorney General of the United States;
          25       ELAINE DUKE, in her official capacity as
                   Acting Secretary of the Department of Homeland
          26       Security; and U.S. DEPARTMENT OF
                   HOMELAND SECURITY,
          27
                                      Defendants.
          28
                                                                                           [PROPOSED] ORDER GRANTING
  COOLEY LLP                                                                    MTN. OF LEGAL SERVICES ORGANIZATIONS
ATTORNEYS AT LAW
   PALO ALTO
                                                                                FOR LEAVE TO FILE BRIEF AS AMICI CURIAE
                                                                                        (CASE NO.: 3:17-CV-05211-WHA)
            1             The Court, having read and considered the Motion of Legal Services Organizations for Leave

            2      to File Brief as Amici Curiae in Support of Plaintiffs’ Motion for Provisional Relief, finds that

            3      proposed amici’s participation in the above-captioned matters is relevant and desirable to the Court’s

            4      disposition of the issues.

            5             Accordingly, the Court hereby GRANTS proposed amici’s Motion of Legal Services

            6      Organizations for Leave to File Brief as Amici Curiae in Support of Plaintiffs’ Motion for

            7      Provisional Relief.

            8

            9      IT IS SO ORDERED.

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                   Dated: November 1, 2017.                      HONORABLE WILLIAM H. ALSUP
          12                                                     UNITED STATES DISTRICT JUDGE
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                                                                                               [PROPOSED] ORDER GRANTING
  COOLEY LLP                                                                        MTN. OF LEGAL SERVICES ORGANIZATIONS
ATTORNEYS AT LAW
   PALO ALTO
                                                                                    FOR LEAVE TO FILE BRIEF AS AMICI CURIAE
                                                                                            (CASE NO.: 3:17-CV-05211-WHA)
